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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CASE NO. 2:12-CR-11(2) JRG-RSP
                                                §
JULIA FLORES SAUCEDO                            §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 4 with a

violation of 21 U.S.C. ' 841(a)(1), Possession with Intent to Distribute and Distribution of More

than 5 grams of Methamphetamine. Having conducted a proceeding in the form and manner

prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court accept the

defendant=s guilty plea. The parties waived their right to file objections to the Findings of Fact

and Recommendation.        The Court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the

United States Magistrate Judge, filed January 31, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 4 of the indictment in the above-numbered cause.

       So Ordered and Signed on this


       Jun 26, 2013
